     Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 1 of 17
                                                                             1



 1                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA
 2   *******************************************************************
     UNITED STATES OF AMERICA
 3                                         Docket No. 12-CV-1924
                                           Section "E"
 4   v.                                    New Orleans, Louisiana
                                           Wednesday, August 17, 2022
 5   NEW ORLEANS CITY
     *******************************************************************
 6                 TRANSCRIPT OF PUBLIC HEARING PROCEEDINGS
                    HEARD BEFORE THE HONORABLE SUSIE MORGAN
 7                        UNITED STATES DISTRICT JUDGE

 8

 9   APPEARANCES:

10   FOR THE MONITORING TEAM:            JONATHAN ARONIE
                                         DAVID DOUGLASS
11                                       ASHLEY BURNS
                                         MARY ANN VIVERETTE
12
     FOR THE DEPARTMENT OF JUSTICE:      TIMOTHY MYGATT, ESQ.
13                                       R. JONAS GEISSLER, ESQ.
                                         MEGAN R. MARKS, ESQ.
14                                       THEODORE R. CARTER, III, ESQ.

15   FOR THE OFFICE OF THE
     INDEPENDENT POLICE MONITORING:      STELLA CZIMENT
16                                       BONYCLE SOKUNBI

17   FOR THE NEW ORLEANS
     POLICE DEPARTMENT:                  SUPERINTENDENT SHAUN FERGUSON
18                                       ARLINDA WESTBROOK
                                         OTHA SANDIFER
19                                       CHRISTOPHER GOODLY

20   FOR THE CITY OF NEW ORLEANS:        DONESIA TURNER, CITY ATTORNEY
                                         CHARLES ZIMMER, ESQ.
21                                       DANIEL DAVILLIER, ESQ.

22   Official Court Reporter:            Karen A. Ibos, CCR, RPR, CRR, RMR
                                         500 Poydras Street, B-275
23                                       New Orleans, Louisiana 70130
                                         (504) 589-7776
24
       Proceedings recorded by mechanical stenography, transcript
25   produced by computer.
                Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 2 of 17
                                                                                              2



            1                              P R O C E E D I N G S

            2                         (WEDNESDAY, AUGUST 17, 2022)

            3                         (PUBLIC HEARING PROCEEDINGS)

13:19:37    4

13:19:37    5        (OPEN COURT.)

13:19:37    6              THE COURT:    Be seated.

13:19:39    7              THE DEPUTY CLERK:     Calling Civil Action 12-1924, United

13:19:43    8   States of America v. The City of New Orleans.

13:19:47    9              THE COURT:    All right.    Good afternoon, everyone.        And

13:19:49   10   welcome.   And thank you all for being here today.         I am really

13:19:54   11   happy to see you.     I would like for the parties to make their

13:19:57   12   appearances for the record.      If we could start with the NOPD and

13:20:00   13   the City first.     I guess, Chief.

13:20:04   14              SUPERINTENDENT FERGUSON:      Superintendent -- I'm sorry,

13:20:07   15   your Honor.   Superintendent Shaun Ferguson, New Orleans Police

13:20:11   16   Department.

13:20:11   17              THE COURT:    Thank you.

13:20:13   18              MS. TURNER:     Donesia Turner, City Attorney.

13:20:18   19              MR. ZIMMER:     Charles Zimmer, outside counsel for the City

13:20:22   20   of New Orleans.

13:20:23   21              MR. DAVILLIER:     Good afternoon, your Honor.      Daniel

13:20:24   22   Davillier on behalf of the City of New Orleans and the NOPD.

13:20:28   23              MS. WESTBROOK:     Arlinda Westbrook, NOPD.

13:20:32   24              MR. SANDIFER:     Otha Sandifer, NOPD.

13:20:33   25              MR. GOODLY:     Christopher Goodly, NOPD.
                Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 3 of 17
                                                                                            3



13:20:38    1              THE COURT:     And the Department of Justice.

13:20:39    2              MR. MYGATT:     Tim Mygatt, your Honor, on behalf of the

13:20:43    3   United States.

13:20:44    4              MR. GEISSLER:     Good afternoon, your Honor.      Jonas

13:20:44    5   Geissler on behalf of the United States.

13:20:46    6              MS. MARKS:     Good afternoon, Megan Marks on behalf of the

13:20:49    7   United States.

13:20:50    8              MR. CARTER:     Good afternoon, your Honor.      Theodore Carter

13:20:52    9   also on behalf of the United States.

13:20:54   10              THE COURT:     And the monitoring team.

13:20:56   11              MR. ARONIE:     Your Honor, Jonathan Aronie with the

13:20:59   12   monitoring team.

13:21:01   13              MR. DOUGLASS:     David Douglass, your Honor, monitoring

13:21:03   14   team.

13:21:07   15              THE COURT:     Dr. Burns.

13:21:08   16              MS. BURNS:     Ashley Burns, monitoring team.

13:21:13   17              MS. VIVERETTE:        Mary Ann Viverette, monitoring team.

13:21:16   18              MR. ARONIE:     And, your Honor, would you like the IPM to

13:21:19   19   introduce themselves as well?

13:21:19   20              THE COURT:     Yes.     And then the Office of the Independent

13:21:20   21   Police Monitoring.

13:21:21   22              MS. CZIMENT:     Thank you, your Honor.     Good afternoon.

13:21:23   23   Stella Cziment on behalf of the Office of the Independent Police

13:21:26   24   Monitor for the City of New Orleans.

13:21:29   25              THE COURT:     Well, thank all of you -- did I miss anyone?
                Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 4 of 17
                                                                                            4



13:21:31    1              MR. ARONIE:     One more.

13:21:35    2              MS. SOKUNBI:     Good afternoon.    Bonycle Sokunbi of behalf

13:21:38    3   of IPM.

13:21:38    4              THE COURT:     Is that everyone?    All right.    Well, thank

13:21:41    5   you all for being here today - the parties, the NOPD officers who

13:21:48    6   are here today, the public, and the media.

13:21:50    7              As always, we appreciate your interest in these

13:21:53    8   proceedings because they're important to the citizens of New

13:21:56    9   Orleans and to our many visitors to our city, and we all -- we know

13:22:02   10   we all love this great city, and we're all here to support the

13:22:06   11   NOPD.

13:22:07   12              When we last met in April, the monitoring team and I

13:22:11   13   expressed optimism that NOPD was on track to move two significant

13:22:16   14   areas, bias-free policing and stop, searches and arrests into what

13:22:22   15   we call the green.      I also expressed my hope that I would be able

13:22:27   16   to hold public hearings on these topics in May and June.           As you

13:22:31   17   may have noticed, that did not happen.        It did not happen because

13:22:35   18   notwithstanding the ongoing effort and commitment of the monitoring

13:22:40   19   team, the Department of Justice, the NOPD, and frankly this Court,

13:22:46   20   completion of NOPD's audits of bias-free policing and stop,

13:22:51   21   searches, and arrests have simply taken longer to accomplish than

13:22:56   22   we expected.

13:22:57   23              Although these audits still are not complete, I scheduled

13:23:01   24   this hearing, first, to report to the public on the status of those

13:23:07   25   audits; second, to provide, to the extent possible, a plan for how
                Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 5 of 17
                                                                                          5



13:23:11    1   we proceed from here; and third, to address several troubling

13:23:15    2   issues that recently have arisen.

13:23:18    3              Before we turn to these issues, however, there is a

13:23:21    4   matter I must address.     As you are aware, on Tuesday the City filed

13:23:26    5   a motion to terminate the consent decree.         The Department of

13:23:31    6   Justice has not had an opportunity to respond to the motion and

13:23:35    7   this Court has not had the opportunity to assess whether the

13:23:39    8   procedure and standards for seeking termination of the consent

13:23:43    9   decree, which are set forth in paragraph 492 if you would like to

13:23:47   10   read them, have been met.

13:23:49   11              Despite some media reports to the contrary, today's

13:23:54   12   hearing is not about the City's motion to terminate the consent

13:23:59   13   decree.   The only time a motion is filed on one day and a hearing

13:24:03   14   is held the next day is on TV, and this is not TV.          For those

13:24:08   15   reasons, it would be premature for me to entertain any arguments

13:24:12   16   related to the City's motion today.       I will not expect the City or

13:24:17   17   the DOJ to make any statements at today's hearing in support of or

13:24:23   18   in opposition to that motion.

13:24:25   19              Nevertheless, it is my job to balance the parties' right

13:24:28   20   to a fair opportunity to be heard on the motion in the future,

13:24:34   21   against the public's right to know where things stand right now.

13:24:39   22   The monitoring team and I have a responsibility to report to the

13:24:42   23   public on the status of NOPD's compliance under the consent decree,

13:24:47   24   and that is what we're here to do today.        I will certainly give the

13:24:51   25   NOPD and the DOJ the opportunity to speak today, if they would like
                Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 6 of 17
                                                                                             6



13:24:55    1   to.

13:24:57    2               As I mentioned in April, I expected that bias-free

13:25:00    3   policing and stop, searches, and arrests would come into compliance

13:25:05    4   this summer.     The NOPD has made significant progress in both of

13:25:10    5   those closely-related areas, and the monitoring team and DOJ

13:25:14    6   currently are evaluating their progress, including the results of

13:25:19    7   the audits in those areas.

13:25:21    8               I'm hopeful we'll be in a position to schedule those

13:25:25    9   presentations soon.     I've asked the monitors to report today on the

13:25:29   10   progress made in those areas.

13:25:32   11               I've also asked the monitors to report today on several

13:25:35   12   issues that have arisen since the public hearing in April.             The

13:25:40   13   first issue involves serious questions regarding potential abuse by

13:25:45   14   NOPD officers performing off-duty details, also known as secondary

13:25:52   15   employment.     This raised concerns in my mind regarding the systems

13:25:56   16   in place to prevent this kind of abuse, as well as the level of

13:26:00   17   supervision over these implicated officers.

13:26:04   18               The second issue is NOPD's recruiting and retention

13:26:08   19   problems.     These issues are having an impact on the department's

13:26:11   20   ability to maintain compliance with several of the requirements of

13:26:18   21   the consent decree.     We'll hear from the monitoring team in a

13:26:21   22   moment regarding the steps NOPD and the City are taking to mitigate

13:26:26   23   these negative impacts.

13:26:28   24               Finally, the Court is aware of recent inaccurate

13:26:31   25   statements made by the City and other groups concerning the consent
                Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 7 of 17
                                                                                           7



13:26:36    1   decree's purported impact on NOPD personnel and their ability to

13:26:41    2   safely and effectively discharge their duties.         The Court is deeply

13:26:46    3   concerned that these statements risk misleading the public and NOPD

13:26:50    4   members with respect to whether the NOPD is fully committed to

13:26:55    5   achieving full and sustained implementation of the consent decree's

13:27:00    6   requirements.

13:27:04    7              The Court is also deeply concerned with the City's

13:27:07    8   implication, without support, that the consent decree is impairing

13:27:12    9   NOPD's ability to execute its law enforcement mission and placing

13:27:16   10   its officers lives at risk.      These inaccurate statements convey the

13:27:22   11   false impression that NOPD officers want to revert back to the NOPD

13:27:26   12   of old.   They don't.    Officers have told the monitoring team again

13:27:31   13   and again that they are proud of the department's transformation

13:27:36   14   since the outset of the consent decree.        Officers have not told us

13:27:40   15   that the consent decree is placing officers' lives at risk.

13:27:46   16              Instead, they are concerned that they have inadequate

13:27:50   17   resources to do their jobs.      They want and deserve working

13:27:54   18   equipment, modern facilities, and fair pay.         They say they need

13:27:59   19   more personnel, commissioned officers and civilians, to enable them

13:28:03   20   to protect and serve the public.       Suggesting that officers want the

13:28:08   21   consent decree to end so that they can return to policing the way

13:28:12   22   they did before 2013 is wrong and dangerous and does a disservice

13:28:19   23   to the men and women of the NOPD.

13:28:22   24              And let's all remember, many crucial reforms have been in

13:28:26   25   place for years without any negative impact on recruitment or
                Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 8 of 17
                                                                                             8



13:28:31    1   retention.    In fact, recruitment improved after implementation of

13:28:37    2   the consent decree.     Officer and public satisfaction improved after

13:28:42    3   implementation of the consent decree.        The current rising climb in

13:28:48    4   crime and decline in officer recruitment and retention are national

13:28:53    5   trends.    This is happening in cities all over the country, most of

13:28:58    6   which are not under consent decrees.

13:29:01    7              It is inaccurate and unfair to blame these problems on

13:29:05    8   the consent decree.     The Court expects the City's statements

13:29:10    9   concerning the consent decree, whether to the Court or to the

13:29:13   10   public, to be accurate, evidence-based, and consistent with the

13:29:18   11   City's own agreement to fully implement the consent decree's

13:29:23   12   reforms.

13:29:24   13              It is critical that the public, as well as the NOPD

13:29:28   14   personnel, who have worked so tirelessly to implement the needed

13:29:32   15   reforms remain confident that the City is not wavering from its

13:29:38   16   commitment to achieve full and sustained compliance with its

13:29:42   17   agreed-to obligations.

13:29:45   18              Since implementation of the consent decree, I have met

13:29:48   19   regularly with the parties, including rank and file officers.          The

13:29:53   20   monitor also meets regularly with the parties, at least weekly, and

13:29:58   21   sometimes daily, to discuss the status of NOPD's efforts and ensure

13:30:05   22   everyone is on the same page regarding exactly what the City and

13:30:10   23   NOPD need to do to achieve compliance.

13:30:13   24              Over the past seven or eight years, members of the

13:30:16   25   monitoring team have spent time with NOPD officers on ride alongs,
                Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 9 of 17
                                                                                          29



14:00:25    1   significant progress the City has made in implementing the consent

14:00:29    2   decree.   As the monitor has found, and we have agreed, the City has

14:00:33    3   achieved initial compliance in 15 of the 17 substantive areas

14:00:37    4   covered by the consent decree.       This is due to a tremendous amount

14:00:41    5   of hard work by many people throughout the New Orleans Police

14:00:45    6   Department.   There has not yet been any formal assessment of

14:00:49    7   whether the City and NOPD have sustained compliance with these

14:00:53    8   15 areas of the consent decree.

14:00:54    9              In its proposed motion to terminate, the City has argued

14:00:57   10   that it has sustained compliance; and we will consider the

14:01:00   11   information and follow the process in the consent decree to assess

14:01:04   12   whether compliance has been sustained.

14:01:06   13              In the two remaining areas of the consent decree, stops,

14:01:10   14   searches, and arrests and bias-free policing, the City is nearing

14:01:14   15   compliance under one of the methods set forth in the consent

14:01:17   16   decree, which requires that the provisions of the decree in these

14:01:23   17   areas be incorporated into policy, that all relevant personnel be

14:01:27   18   trained, and that NOPD has ensured that the requirements are being

14:01:29   19   carried out in practice, which would usually be demonstrated

14:01:34   20   through audits.

14:01:35   21              In its proposed motion to terminate, the City has also

14:01:38   22   argued that it has already achieved and sustained compliance --

14:01:41   23              MR. DAVILLIER:     Objection, your Honor.      He is talking

14:01:42   24   about the motion.    He said he was not going to talk about the

14:01:45   25   motion.
                Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 10 of 17
                                                                                            30



14:01:46    1              THE COURT:    I don't want to get into the motion today --

14:01:49    2              MR. DAVILLIER:     Thank you, your Honor.

14:01:50    3              THE COURT:    -- so if you could -- because I've asked them

14:01:52    4   not to get up and argue their motion.        I want to wait until I've

14:01:57    5   read everything.

14:01:59    6              MR. MYGATT:     I absolutely understand, your Honor.         I just

14:02:01    7   wanted to acknowledge the work that's been done, and all I am

14:02:02    8   trying to say is we're going to follow the process in the consent

14:02:06    9   decree to assess that.      And that was actually the exact point that

14:02:08   10   I was about to make.

14:02:09   11              MR. DAVILLIER:     Thank you.

14:02:11   12              MR. MYGATT:     You've made an argument about that and we're

14:02:13   13   going to assess that.

14:02:14   14              THE COURT:    Okay, all right.     Let's go.    Let's proceed.

14:02:17   15              MR. MYGATT:     Over the past several months, some issues

14:02:19   16   have arisen that have raised concerns for us about whether NOPD has

14:02:22   17   sustained compliance in areas previously found in compliance and

14:02:25   18   whether NOPD can sustain compliance without ongoing technical

14:02:29   19   assistance from the monitor and us.        The Court has talked about

14:02:32   20   some of those issues already, and I don't want to go into length on

14:02:35   21   those.   Again, the City has made arguments about those, and we will

14:02:37   22   consider those at the proper time.

14:02:40   23              We also want to state clearly that if the City or NOPD

14:02:44   24   have any concerns about the implementation of the consent decree,

14:02:47   25   we are willing to discuss those concerns with the City and NOPD at
                Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 11 of 17
                                                                                           36



14:11:16    1               While it's not my job to tell the NOPD how to do its job,

14:11:20    2   it is my responsibility to weigh in when an action is putting the

14:11:24    3   reforms of the past eight years at risk.         That's in a nutshell is

14:11:29    4   why I scheduled today's hearing.

14:11:31    5               Since our last hearing in April, I've grown increasingly

14:11:37    6   concerned about the impact of NOPD's staffing shortages and lack of

14:11:41    7   resources are having on its ability to sustain the high level of

14:11:46    8   compliance we have grown accustomed to finding at these public

14:11:50    9   hearings.    In April, those concerns prompted me to direct the

14:11:53   10   monitoring team to put together a technical assistance report,

14:11:57   11   which you've heard discussed today.        It incorporates a series of

14:12:02   12   recommendations to the NOPD based on countless meetings with

14:12:06   13   officers, the police associations, and community members.

14:12:10   14               In May I began meeting with the City's Chief

14:12:13   15   Administrative Officer and City Attorney to discuss staffing,

14:12:18   16   civilianization, equipment, and facilities, and the impact those

14:12:23   17   things are having on officer retention, officer recruitment, and

14:12:28   18   consent decree compliance.      These meetings have proved very

14:12:31   19   valuable, and I know the CAO takes this matter quite seriously.

14:12:36   20   The City has come up with a concrete plan to fill unfilled

14:12:40   21   positions, hire new staff, improve equipment, fix dilapidated

14:12:47   22   facilities, and generally improve officer working conditions.

14:12:50   23               So I want to publicly thank the CAO for his efforts to

14:12:56   24   follow-up on the many concerns expressed by the NOPD and this

14:13:00   25   Court.
                Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 12 of 17
                                                                                        37



14:13:02    1              Notwithstanding these efforts, though, I still do not see

14:13:07    2   that the City or NOPD have a holistic plan to deal with the current

14:13:14    3   emergency, nor have I seen, until very recently, a unified focus on

14:13:16    4   officer retention.     This is unfair to the men and women of the NOPD

14:13:20    5   who have worked so hard for so long to turn the NOPD around, and

14:13:25    6   it's unfair to the New Orleans community to depend on the NOPD to

14:13:29    7   keep them safe.     This lack of a holistic plan not only hurts

14:13:34    8   officers and community members, it virtually assures the NOPD will

14:13:38    9   not be able to sustain its achievements under the consent decree.

14:13:43   10              To remedy this, I am going to take the following actions:

14:13:47   11   First, I am directing the monitor to assign members of his team to

14:13:52   12   provide technical assistance to the NOPD in the areas of staffing,

14:13:57   13   officer retention, recruiting, transparency, alternative police

14:14:03   14   response, and burden reduction.       I want a member of the monitoring

14:14:08   15   team embedded with the NOPD on each of these work streams.

14:14:12   16              Second, the monitor and I plan to continue meeting

14:14:16   17   monthly with the CAO for the foreseeable future to ensure the City

14:14:21   18   follows through on its plans to direct additional resources to the

14:14:25   19   NOPD and its officers, including, as I mentioned, proper equipment,

14:14:31   20   professional facilities, functioning information technology, and

14:14:36   21   reasonable pay.

14:14:38   22              Third, the monitor and I plan to continue meeting with

14:14:42   23   the NOPD, the CAO, and the Civil Service Commission until all

14:14:47   24   critical unfilled positions are filled and all necessary new

14:14:51   25   positions are approved.      These meetings will focus on the need for
                Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 13 of 17
                                                                                           38



14:14:56    1   expanded civilianization of NOPD personnel.         And I want a report to

14:15:02    2   you all that the Civil Service Commission has expressed the desire

14:15:07    3   to work with NOPD to make -- to achieve these goals faster than

14:15:14    4   we've been able to do in the past, so I am really hopeful that we

14:15:18    5   will make progress.

14:15:19    6              Fourth, I am directing the monitor to re-audit several

14:15:23    7   critical areas of the consent decree that I fear may have been

14:15:28    8   impacted by the lack of NOPD personnel.         These include the

14:15:32    9   integrity of crime reporting data, the downgrading of calls for

14:15:36   10   service, the impact of response times, the delays in sharing data

14:15:41   11   and reports with the public, and the reduction of innovative and

14:15:45   12   targeted crime fighting.

14:15:48   13              Fifth, I am encouraging the City to explore the use of

14:15:53   14   its emergency contracting powers to expedite as many of the

14:15:57   15   necessary remedial measures as possible.         For example, this Court

14:16:02   16   and the monitoring team have been pushing the City for many years

14:16:05   17   to make better use of civilianization, alternative police

14:16:11   18   reporting, and non-police handling of minor traffic accidents.           The

14:16:15   19   progress the City has made in these areas has been tragically slow.

14:16:20   20   This can't continue.     The City is facing an emergency.        NOPD cannot

14:16:25   21   continue to police the way it did when it had 1,300 officers.

14:16:31   22              Sixth, I am directing the monitoring team to publish its

14:16:35   23   April technical assistance report in early September, along with an

14:16:38   24   accounting of what steps the NOPD has taken to implement those

14:16:43   25   recommendations.
                Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 14 of 17
                                                                                          39



14:16:44    1              Seventh, I understand one or more members of the City

14:16:48    2   Council are working to bring together multiple stakeholders,

14:16:52    3   including the administration, the civil service, and the NOPD in an

14:16:58    4   effort to work together to help overcome the NOPD's current

14:17:02    5   challenges.    I've made it clear to those responsible for this

14:17:06    6   effort that I welcome the monitors' involvement in this effort.

14:17:12    7              Eighth, I am directing the monitoring team to work with

14:17:15    8   the NOPD to re-establish the burden reduction working groups that

14:17:20    9   proved so valuable in the past.       And I believe that some of the

14:17:24   10   officers here have served on those committees.          In an effort to

14:17:28   11   reduce wasted time and promote internal efficiencies, the

14:17:32   12   monitoring team in 2015, 2016, and 2017 held a series of burden

14:17:40   13   reduction working groups, with officers of all ranks.           These

14:17:44   14   meetings led to a number of very successful innovations.           I want to

14:17:48   15   see these meetings re-energized, and I want them expanded to focus

14:17:53   16   on alternative policing strategies as well.

14:17:57   17              As I said a moment ago, the NOPD cannot police with 950

14:18:02   18   officers the way it did with 1,300 officers.

14:18:06   19              Ninth, I've asked the monitoring team to schedule two

14:18:10   20   public meetings in September, one for the community and one more

14:18:13   21   the media.    It's critical that the people of New Orleans receive

14:18:17   22   current, accurate, and complete information regarding the state of

14:18:23   23   the consent decree and the state of NOPD's compliance with the

14:18:26   24   consent decree.     These two meetings will give the public directly,

14:18:30   25   and through the press, the opportunity to have their questions
                Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 15 of 17
                                                                                         40



14:18:33    1   answered by the individuals who have served as my eyes and ears

14:18:38    2   since the outset of the consent decree, the monitoring team.

14:18:41    3               Tenth, I plan to hold monthly public hearings until NOPD

14:18:46    4   and the City demonstrate to this Court that they have a strong plan

14:18:50    5   and are moving forward to implement that plan to resolve the

14:18:55    6   problems facing the NOPD.

14:19:00    7               I am hoping these actions will help the NOPD and the City

14:19:03    8   to get this process back on track.

14:19:06    9               Before I close today, I want to be clear about one thing

14:19:09   10   that is very important to me.       While I am frustrated by the recent

14:19:16   11   concerns I have in some areas and the lack of progress I've seen in

14:19:21   12   others, I do not say this to criticize the men and women who

14:19:25   13   continue to toil in the NOPD trenches to serve and protect the

14:19:30   14   people of New Orleans.      You have been asked to take on a critical

14:19:35   15   job with inadequate support, insufficient resources, poor

14:19:40   16   equipment, and crumbling buildings.        I want to thank you for not

14:19:43   17   giving up on our city, and I assure you we're not giving up on you.

14:19:49   18   You have been instrumental in transforming the department over the

14:19:53   19   past eight years, and I will make sure you get what you need to

14:19:57   20   continue this job.

14:20:00   21               Nor do I intend to criticize those NOPD supervisors and

14:20:04   22   leaders, a few of whom I mentioned in my opening remarks, who have

14:20:09   23   proven themselves to be true proponents of reform, true partners of

14:20:13   24   progress.    I can't thank you all enough for your commitment to

14:20:17   25   public service.     Please do not take any of my remarks as slights
                Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 16 of 17
                                                                                              41



14:20:22    1   against your hard work.      You all are being asked to undertaken a

14:20:27    2   very heavy lift without the resources you need to get the job done,

14:20:30    3   and as I said, that's going to change.

14:20:35    4              I've said before that my being assigned to this case was

14:20:39    5   the opportunity of a lifetime.       As judges, ordinarily we work on

14:20:45    6   one case and it's important to the parties to that case and it's

14:20:49    7   important to me and I enjoy that work, but this has given me an

14:20:54    8   opportunity to do something that's important to all of the citizens

14:20:57    9   of New Orleans.     And it's been a true opportunity.       I have met so

14:21:02   10   many hard working, dedicated, and smart people who work for the

14:21:07   11   NOPD, I've been so impressed, Chief Ferguson, with the talent that

14:21:14   12   you have, and I congratulate you on that.

14:21:18   13              And so it's been a real pleasure for me and an honor, and

14:21:26   14   I want you all to know that we're going to continue to do this and

14:21:31   15   together we're going to get it right.

14:21:33   16              Finally, thanks to the media and the City Council members

14:21:38   17   and the public for being here today, and to those members of our

14:21:43   18   community who will be reading about this hearing in the newspaper

14:21:47   19   or on other public media.      I want to thank you all for your

14:21:53   20   continued interest in this critical issue.         I look forward to

14:21:57   21   seeing you all again.      I want the courtroom to be full at our next

14:22:02   22   hearing.   Everybody raise your hand who is going to be here.           Not

14:22:07   23   all the hands went up.

14:22:13   24              But we will get you the dates of our next hearing, and

14:22:16   25   we'll try to keep you informed about progress as we continue.            And
                Case 2:12-cv-01924-SM-DPC Document 646-3 Filed 09/26/22 Page 17 of 17
                                                                                        42



14:22:23    1   as usual, I'll come down from the bench and spend a few minutes

14:22:27    2   saying hello to you all and thanking you for being here.

14:22:32    3              And with that, our hearing is adjourned.

14:22:37    4              MR. ARONIE:     Thank you, your Honor.

14:22:38    5         (WHEREUPON, THE PROCEEDINGS WERE CONCLUDED.)

            6

            7                                   * * * * * *

            8

            9                             REPORTER'S CERTIFICATE

           10

           11              I, Karen A. Ibos, CCR, Official Court Reporter, United

           12   States District Court, Eastern District of Louisiana, do hereby

           13   certify that the foregoing is a true and correct transcript, to the

           14   best of my ability and understanding, from the record of the

           15   proceedings in the above-entitled and numbered matter.

           16

           17

           18                                /s/ Karen A. Ibos

           19                            Karen A. Ibos, CCR, RPR, CRR, RMR

           20                            Official Court Reporter

           21

           22

           23

           24

           25
